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          In the United States Court of Federal Claims
                                      No. 19-1796C

                               (E-filed: August 11, 2020)

                                           )
 AMAZON WEB SERVICES, INC.,                )
                                           )
               Plaintiff,                  )
                                           )
 v.                                        )
                                           )
 THE UNITED STATES,                        )
                                           )
               Defendant,                  )
                                           )
 and                                       )
                                           )
 MICROSOFT CORP.,                          )
                                           )
              Intervenor-defendant.        )
                                           )

                                         ORDER

        On August 10, 2020, defendant filed an unopposed motion for an enlargement of
time of thirty days, to and including September 16, 2020, for the United States
Department of Defense (DOD) to issue its remand decision, for the filing of a joint status
report, and for proceedings in this matter to remain stayed. See ECF No. 217. Therein,
defendant reports that during the remand, DOD “has identified areas of concern with
respect to the revised proposals received from both offerors, resulting in multiple
solicitations amendments, rounds of proposal revisions, and exchanges with the offerors.”
Id. at 1. In evaluating each offeror’s proposals for its latest amendment (Amendment
0010), DOD “has recently identified the need to reopen limited discussions related to
certain aspects of the offerors’ proposals. After permitting offerors to submit questions,
[DOD] anticipates requiring final proposal revisions by August 12, 2020.” Id. at 2.

       Following such revisions, defendant states that DOD “will complete its pricing
evaluation, and will provide both technical and pricing reports and briefings to the Source
Selection Advisory Council and the Source Selection Authority. Once the Source
Selection Authority makes an award decision, that decision will be vetted through
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[DOD]’s peer review process followed by the preparation of award documents and the
award decision.” Id. at 2-3. Thus, defendant anticipates that the re-evaluation process
will be completed by early September and requests a thirty-day enlargement of time of
the current remand period, along with an extension of time to file the parties next joint
status report within five days after the conclusion of the remand proceedings. See id. at
3.

       Accordingly, for good cause shown:

       (1)    Pursuant to Rule 52.2(c)(1) and Rule 6 of the Rules of the Court of Federal
              Claims (RCFC), defendant’s unopposed motion for an enlargement of time
              for the remand of this matter to the DOD, to and including September 16,
              2020, ECF No. 217, is GRANTED;

       (2)    Pursuant to RCFC 52.2 and 28 U.S.C. § 1491(a)(2) (2012), this matter shall
              continue to be REMANDED to the United States Department of Defense
              to complete the tasks outlined in the court’s April 17, 2020 order, ECF No.
              203, until September 16, 2020;

       (3)    The clerk’s office is directed to continue the STAY this case until further
              order of the court; and

       (4)    Pursuant to RCFC 52.2(e), on or before September 23, 2020, the parties
              are directed to CONFER and FILE a notice, setting forth whether the final
              decision or other action on remand affords a satisfactory basis for
              disposition of the case; or whether further proceedings before the court are
              required and if so, the nature of such proceedings to include a proposed
              schedule to govern this case going forward.

       IT IS SO ORDERED.


                                                 s/Patricia E. Campbell-Smith
                                                 PATRICIA E. CAMPBELL-SMITH
                                                 Judge




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